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   MELISSA JEFFERSON,
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 7
 8
                              UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
10
11
      MELISSA JEFFERSON, professionally
12    known as LIZZO, an individual,
13              Plaintiff,
                                                  Case No. 2:19-cv-9107
14       v.
15    JUSTIN RAISEN, an individual,
      JEREMIAH RAISEN, an individual,             COMPLAINT FOR
16    HEAVY DUTY MUSIC PUBLISHING,                DECLARATORY JUDGMENT
      JUSTIN “YVES” ROTHMAN, an
17    individual, and DOES 1-10,
18              Defendants.
19
20         Plaintiff Melissa Jefferson, professionally known as Lizzo, for her complaint
21 against defendants Justin Raisen, Jeremiah Raisen, Heavy Duty Music Publishing,
22 Justin “Yves” Rothman, and Does 1-10, alleges:
23                                     INTRODUCTION
24         1.     Lizzo is a groundbreaking recording artist and songwriter. After years of
25 hard work, she attained breakthrough commercial success earlier this year. Shortly
26 thereafter, during the summer of 2019, her song “Truth Hurts,” first released back in
27 2017, started to rise in the charts. Last month, just as the song hit No. 1 on the
28 Billboard charts, defendants Justin and Jeremiah Raisen came out of the woodwork
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 1 with an illegitimate claim to co-own a piece of the work. Defendant Yves Rothman
 2 later lodged his own copycat claim. Neither claim has any merit. Lizzo, accordingly,
 3 seeks a judicial declaration that the individual defendants Justin and Jeremiah Raisen
 4 and Justin “Yves” Rothman did not co-author “Truth Hurts,” and have no right to co-
 5 own that work or to share in its profits.
 6         2.      Lizzo seeks this declaration against the Raisens on two grounds. First, the
 7 Raisens did not collaborate with Lizzo or anyone else to create “Truth Hurts” or any of
 8 its component parts. Second, the Raisens, acting through their sophisticated music
 9 publisher and an experienced music industry lawyer, expressly withdrew any claim to
10 “Truth Hurts,” in writing, in April of this year, and subsequently assured Lizzo, again
11 in writing, that they were making no claims to the work. Despite their clear,
12 unequivocal, and repeated renunciations, this September the Raisens purported to
13 “reinstate” their wholly unfounded claims – after they saw “Truth Hurts” become a hit
14 and in a bad faith effort to capitalize on Lizzo’s success. The Raisens, moreover,
15 embarked on an escalating campaign of harassment against Lizzo and others involved
16 in “Truth Hurts,” threatening to “go public” unless they receive an unwarranted share
17 of this work.
18         3.      Defendant Rothman is acting with similar bad faith. In the two years
19 since “Truth Hurts” was released in 2017, Rothman never made any claim to any part
20 of this work. Rothman, however, lodged his own baseless claim just last week seeking
21 a percentage of the song. On information and belief, Rothman asserted his claim only
22 after learning of the Raisens’ attempt to coerce a settlement from the rightful owners of
23 “Truth Hurts” and under the mistaken belief that Lizzo might accede to the Raisens’
24 demands and pay them, and Rothman, something to go away.
25         4.      Lizzo is entitled to a declaratory judgment decreeing that neither the
26 Raisens nor Rothman have any interest in the copyright to “Truth Hurts” and no right
27 to share in its profits.
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 1                                        PARTIES
 2         5.    Lizzo is a singer, songwriter, and rapper. She began performing music
 3 approximately 15 years ago. After more than a decade of hard work, she achieved
 4 breakthrough commercial success earlier this year.
 5         6.    Justin Raisen is a producer, songwriter, and musician.
 6         7.    Jeremiah Raisen is a producer, songwriter, and musician.
 7         8.    On information and belief, Justin Raisen and Jeremiah Raisen do business
 8 through an entity known as Heavy Duty Music Publishing, and/or Heavy Duty Music
 9 Publishing purports to own and/or control a portion of any musical composition that
10 Justin and Jeremiah Raisen own or purport to own.
11         9.    Justin “Yves” Rothman is a producer, songwriter, and musician.
12         10.   The true names and capacities, whether individual, corporate, or
13 otherwise, of Does 1 through 10, are currently unknown, and they are therefore sued
14 under fictitious names.
15                             JURISDICTION AND VENUE
16         11.   This action arises under the copyright laws of the United States, 17 U.S.C.
17 §§ 101, et seq.
18         12.   This Court has subject matter jurisdiction over the claims herein under 28
19 U.S.C. §§ 1331 and 1338 and under the Declaratory Judgment Act, 18 U.S.C. § 2201.
20         13.   Venue in this District is proper under 18 U.S.C. § 1391(b)(1) and (2).
21                              FACTUAL ALLEGATIONS
22         14.   Lizzo co-wrote “Truth Hurts” in 2017. She recorded the song in the
23 summer of 2017, and it was commercially released in September 2017.
24         15.   Neither the Raisens nor Rothman collaborated with Lizzo or anyone else
25 in the creation of “Truth Hurts.”
26         16.   Nevertheless, at different times after “Truth Hurts” was released, the
27 Raisens and Rothman lodged surprise claims to be credited as co-authors of “Truth
28 Hurts.”
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 1         17.    In asserting their claims, neither the Raisens nor Rothman contended that
 2 they had collaborated on the creation of “Truth Hurts.”
 3         The Raisens’ Claim
 4         18.    On information and belief, the Raisens claim to co-own “Truth Hurts”
 5 because the song includes a single lyric (“I just took a DNA test, turns out I’m 100%
 6 that bitch”), coupled with a melody, contained in an unreleased and unfinished “demo”
 7 song which Lizzo worked on at Justin Raisen’s Los Angeles studio in April 2017.
 8         19.    The Raisens did not write any part of the material in question; they did not
 9 come up with the idea of including the lyric in the unreleased demo; they did not help
10 Lizzo decide how to sing the lyric in the unreleased demo; and they do not co-own that
11 work.
12         20.    The Raisens have publicly conceded that the source of the line was a 2017
13 tweet that became a meme. That meme resonated with Lizzo and she decided to sing it
14 in the demo.
15         21.    Nevertheless, each of the Raisens claimed rights to co-own an exorbitant
16 10% of the song “Truth Hurts” – for a total of 20% of the work as a whole – and to a
17 corresponding share of the song’s profits.
18         22.    Lizzo rejected the Raisens’ unfounded attempt to hijack a piece of “Truth
19 Hurts” and its profits. Lizzo’s representatives rejected the Raisens’ claims in writing,
20 and Lizzo did the same in an April 2, 2019 phone call with Justin Raisen. During that
21 call, Justin Raisen acknowledged that neither he nor his brother had anything to do
22 with the material through which they had claimed their purported share.
23         23.    That same day, after Justin Raisen made his concession, the Raisens’
24 manager contacted Lizzo’s lawyer and told her that the Raisens were no longer making
25 any claim to “Truth Hurts.”
26         24.    Two days later, on April 4, 2019, the Raisens/Heavy Duty’s music
27 publisher, Kobalt Music Publishing, reiterated the Raisens’ relinquishment of their
28
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 1 purported claims. The publisher emailed Lizzo’s representatives, under the subject
 2 line “Re: Split Dispute Notice – “Truth Hurts” / Lizzo / Coconut Oil” and stated:
 3                  I have been advised by our clients to withdraw our claims
                    to this work. Kobalt makes no claim to “Truth Hurts”.
 4                  Thanks for your patience. :)
 5 The Raisens’ music industry lawyer was copied on this email.
 6         25.    Upon receiving these assurances, Lizzo’s representatives notified all
 7 interested participants of the song “splits” (i.e., shares) for “Truth Hurts.” The
 8 notification stated that Lizzo and others – but not the Raisens – co-owned “Truth
 9 Hurts.” The Raisens’ publisher, manager, and music lawyer were copied on the
10 communication, and neither the Raisens nor any of their seasoned industry
11 representatives objected to the “splits,” which pointedly omitted the Raisens.
12         26.    In early July 2019, a representative for one of Lizzo’s co-owners
13 happened to see the Raisens listed as writers of “Truth Hurts” on a database of songs
14 maintained by ASCAP, a performance-rights organization. On July 8, 2019, the
15 representative emailed the Raisens’ music publisher to “please advise.” The
16 representative cc:ed all interested participants, including the Raisens’ music lawyer. In
17 response, the Raisens’ publisher confirmed to the email group that it had no claim to
18 the work. It also volunteered to “reach out to ASCAP to get this sorted,” and
19 concluded “Thanks for bringing this to our attention!”
20         27.    In late July or early August 2019, a representative for another of Lizzo’s
21 co-owners heard something about Justin Raisen trying to claim a percentage of “Truth
22 Hurts.” On August 1, 2019, the representative emailed the Raisens’ publisher and
23 music lawyer about this apparent rumor and asked them to “please advise ASAP.” The
24 representative again cc:ed all interested participants. Several days later, the Raisens’
25 publisher again confirmed to the email group that the Raisens were making no claims
26 to “Truth Hurts”:
27                   Nothing has changed on our end, Kobalt is making no
                     claims to this work obo [“on behalf of”] either Jeremiah
28                   or Justin Raisen. Thank you!
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 1         28.   In the period leading up to April 2, 2019, the Raisens’ unfounded claim
 2 had effectively blocked Lizzo and others with an interest in “Truth Hurts” (and in
 3 Lizzo’s recording of that song) from licensing “Truth Hurts” to third parties. The
 4 Raisens were fully aware of this consequence, both because they are (and were at the
 5 time) experienced record producers, songwriters, and musicians, and because Lizzo’s
 6 representatives informed the Raisens that the brothers’ claims were holding up the
 7 licensing of the song.
 8         29.   When the Raisens relinquished their claims on April 2, 2019, Lizzo and
 9 others with an interest in “Truth Hurts” began licensing the work for third party use,
10 including use in the Netflix film Someone Great, released on April 19, 2019.
11         30.    A full twenty months after its release, “Truth Hurts” made a belated
12 debut on the Billboard Hot 100 Chart in mid-May, 2019, and then began quietly
13 climbing up the charts.
14         31.   By the first week of September 2019, “Truth Hurts” was at No. 1 on the
15 Billboard Hot 100.
16         32.   On September 4, 2019, after “Truth Hurts” hit No. 1 on the Billboard Hot
17 100, the Raisens’ publisher notified the co-owners of “Truth Hurts” that the Raisens
18 were “reinstating their claims” to own 20% of that song. The Raisens and their
19 representatives provided no explanation for the Raisens’ purported and invalid
20 backtracking. Upon information and belief, the Raisens have purported to “reinstate”
21 their claims only because of the song’s recent success.
22         33.   In addition, as part of their efforts to obtain an undeserved share of both
23 “Truth Hurts” and its attendant profits, the Raisens engaged in a pattern of harassment
24 directed at Lizzo and the co-writers of “Truth Hurts.” They commenced an
25 intentionally misleading social media campaign where they falsely claimed to be
26 writers of the song and threatened to expand their intentionally misleading campaign to
27 traditional media and newspaper outlets such as the New York Times; all as part of
28 their effort through duress and intimidation to try and compel Lizzo to comply with
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 1 their unreasonable demands to give them a 20% interest in a song that they did not
 2 write.
 3          Rothman’s Claim
 4          34.    Rothman attended the writing session for the unreleased “demo” song in
 5 April 2017. For more than two years, from the September 2017 commercial release of
 6 “Truth Hurts” until just days ago, Rothman never once contended that he was entitled
 7 to any share of “Truth Hurts,” that he had any rights in and to the unreleased demo, or
 8 that “Truth Hurts” supposedly “infringed” any of his purported rights.
 9          35.   On information and belief, Rothman recently learned that the Raisens had
10 lodged and/or “reinstated” their supposed claim to “Truth Hurts,” and were engaged in
11 a campaign of harassment designed to coerce a settlement from the owners of that
12 work.
13          36.   On information and belief, Rothman decided that he too should lodge a
14 claim to “Truth Hurts” on the ill-founded theory that if Lizzo acceded to the Raisens’
15 threatening demands, she might accede to a demand from Rothman too.
16          37.   On October 14, 2019, Rothman made a formal demand claiming that he
17 was one of the writers of the unreleased demo; that “Truth Hurts” infringes the
18 supposed copyright in that unreleased work; and demanding five percent of “Truth
19 Hurts” in exchange for relinquishing his claims. Like the Raisens’ claim, Rothman’s
20 claim has no merit. Rothman did not write any part of the material in question; he did
21 not come up with the idea of including the lyric in the unreleased demo; he did not
22 help Lizzo decide how to sing the lyric in the unreleased demo; he is not a co-author of
23 the unreleased demo; and he is not entitled to any part of “Truth Hurts” or its profits.
24          38.   As a result of the Raisens’ and Rothman’s wholly opportunistic claims,
25 Lizzo is once again unable to proceed with third party licensing of “Truth Hurts.” This
26 has caused and is causing irreparable injury with every day that passes.
27
28
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                                       COUNT ONE
 1
                   (Declaratory relief under 28 U.S.C. § 2201, et seq. and
 2                            under 17 U.S.C. §§ 101, et seq.)
 3         39.    Lizzo incorporates by reference the allegations in each of the preceding
 4 paragraphs as if fully set forth herein.
 5         40.    There exists a real and actual controversy between Lizzo and the
 6 Raisens/Heavy Duty Music Publishing, and Rothman regarding whether the Raisens
 7 and Rothman co-own “Truth Hurts” and/or are entitled to share in the profits earned in
 8 connection with that work and as to whether “Truth Hurts” infringes any copyright
 9 interest purportedly held by defendants in “Healthy.”
10         41.    Lizzo contends that the Raisens and Rothman are not co-owners of the
11 copyright in “Truth Hurts” and have never had a right to any profits earned in
12 connection with the song. Lizzo further contends that the defendants are not co-
13 authors of the unreleased demo song which Lizzo worked on in April 2017, and that, in
14 any event, “Truth Hurts” does not infringe on any copyright interest defendants’
15 purport to hold in that unreleased demo. Lizzo further contends that, to the extent the
16 Raisens ever did or could have had such rights, they waived, and/or are estopped from
17 asserting, those rights. Upon information and belief, the defendants dispute these
18 contentions.
19         42.    The controversy between Lizzo and the Raisens/Heavy Duty Music
20 Publishing and Rothman is real and substantial and demands specific relief through a
21 decree of a conclusive character.
22                                 PRAYER FOR RELIEF
23         WHEREFORE, Lizzo requests that the Court enter a judgment:
24                (A)   Declaring that the Raisens/Heavy Duty Music Publishing and
25                Rothman have no ownership rights in “Truth Hurts”;
26                (B)   Declaring that the Raisens/Heavy Duty Music Publishing and
27                Rothman have no right to any sums of money earned by Lizzo or anyone
28                else in connection with “Truth Hurts”;
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 1             (C)     Declaring that “Truth Hurts” does not infringe any copyright
 2             interest purportedly held by Defendant Rothman in any unreleased demo
 3             song;
 4             (D)     Awarding Lizzo her costs and reasonable attorneys’ fees; and
 5             (E)     Awarding such other and further relief as the Court may deem
 6             proper.
 7 Dated:      New York, New York
               October 23, 2019
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